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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                    MARSHALL DIVISION

     TOUCHSTREAM TECHNOLOGIES, INC.,

                   Plaintiff,

            v.

     CHARTER COMMUNICATIONS, INC. et
     al.,

                   Defendants.                              Lead Case No. 2:23-cv-00059-JRG
                                                         Member Case No. 2:23-cv-00062-JRG
     TOUCHSTREAM TECHNOLOGIES, INC.,

                   Plaintiff,

            v.

     COMCAST CABLE COMMUNICATIONS,
     LLC, D/B/A XFINITY, et al.,

                  Defendants.

                                JOINT PROPOSED PRETRIAL ORDER1


            Plaintiff Touchstream Technologies, Inc. (“Plaintiff” or “Touchstream”) and Defendants

     Comcast Cable Communications, LLC, d/b/a Xfinity; Comcast Corporation; Comcast Cable

     Communications Management, LLC; and Comcast of Houston, LLC (collectively “Comcast”)

     (Touchstream and Comcast collectively, “the Parties”) submit the following proposed Joint

     Pretrial Order pursuant to the Court’s Third Amended Docket Control Order (Dkt. 205), the

     Federal Rules of Civil Procedure, and Local Rules of this Court. This case is scheduled for a


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  Submissions that are agreed to by both Touchstream and Comcast are not highlighted.
 Submissions proposed by Touchstream that are not agreed to by Comcast are bracketed and
 highlighted in green. Submissions proposed by Comcast that are not agreed to by Touchstream
 are bracketed and highlighted in yellow.


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  pretrial management conference on December 2, 2024, pursuant to Local Rule CV-16 and Rule

  16 of the Federal Rules of Civil Procedure. The Parties have stipulated to various matters

  identified herein and having identified exhibits, witnesses, factual contentions, and triable issues.

 I.     APPEARANCE OF COUNSEL

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 II.    STATEMENT OF JURISDICTION

         This Court has subject-matter jurisdiction under Title 28, U.S.C. §§ 1331 and 1338(a),

  because this action arises under the Patent Laws of the United States, 35 U.S.C. § 1 et seq. The

  parties do not dispute subject-matter jurisdiction or personal jurisdiction for purposes of this

  action only.




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 III.   JOINT STATEMENT OF THE CASE

        This is a civil action for patent infringement in which Touchstream accuses Comcast of

 directly infringing claims 1, 5, 7, 8, and 9 of U.S. Patent No. 8,356,251 (“’251 patent”); claims 12,

 13, and 14 of U.S. Patent No. 11,048,751 (“’751 patent”); and claims 17, 18, 19 and 20 of U.S.

 Patent No. 11,086,934 (“’934 patent”) (collectively the “Asserted Claims” of the “Asserted

 Patents”). Touchstream alleges that Comcast has directly infringed each of the Asserted Claims.

 Comcast denies that it has infringed the Asserted Claims of the Asserted Patents and argues that

 the Asserted Claims are invalid.

          Touchstream alleges Comcast infringes the Asserted Claims of the Asserted Patents by

  performing certain methods. In particular, Touchstream alleges that Comcast infringes when a

  subscriber uses the Xfinity TV Remote Application in conjunction with an X1 set-top box (the

  “Accused Functionalities”). Touchstream seeks monetary damages in the form of a reasonable

  royalty for past damages, an ongoing reasonable royalty for future damages, pre- and post-

  judgment interest, costs, and an award of its fees under 35 U.S.C. §§ 284 and 285, as well as

  any other relief the Court deems appropriate. Touchstream also seeks a permanent injunction to

  prevent further infringement of the Asserted Patents. Touchstream asserts that Comcast’s

  alleged infringement of the ’251 patent was and continues to be willful. Touchstream also

  asserts that Comcast’s alleged infringement of the ’751 and ’934 patents has been willful after

  the filing of this lawsuit. Touchstream seeks enhanced damages as a result of Comcast’s alleged

  willful infringement, and any other relief the Court deems appropriate. Touchstream disagrees

  with each allegation, defense, and/or affirmative defense asserted by Comcast.

          Comcast contends that it does not infringe the Asserted Claims and that the Asserted

  Claims are invalid under 35 U.S.C. §§ 101, 102, 103, and/or 112. Because Comcast does not




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  infringe any valid Asserted Claim, Touchstream is not entitled to any damages or equitable

  relief. Comcast further contends that it has not willfully infringed any of the Asserted Patents.

  Further, this case is exceptional under 35 U.S.C. § 285, and Comcast seeks its attorney’s fees

  and costs thereunder, as well as any other relief the Court deems appropriate.

 IV.      CONTENTIONS OF THE PARTIES

            By providing these statements, the Parties do not concede that any of the following issues

  are appropriately presented at trial. The Parties also do not waive any issues raised by their

  previously filed motions or previously lodged objections.

            The contentions below do not include every detail underlying each contention. The

  Parties do not waive any issues raised in their pending, decided, or future motions, including

  any motions in limine, motions for summary judgment, Daubert motions, motions to strike, and

  any other future motions or objections that they may file.

         A.   Touchstream’s Contentions

              (1) Plaintiff Touchstream is the owner of all right, title, and interest in the ’251 patent

       titled “Play Control of Content on a Display Device.” Comcast has been and is infringing the

       ’251 patent under 35 U.S.C. § 271 by using the methods of one or more claims of the ’251

       Patent within the United States through its Accused Functionalities. Touchstream accuses

       Comcast of infringing claims 1, 5, 7, 8, and 9 of the ’251 patent.

              (2) Plaintiff Touchstream is the owner of the ’751 patent titled “Play Control of Content

       on a Display Device.” Comcast has been and is infringing the ’751 patent under 35 U.S.C.

       § 271 by using the methods of one or more claims of the ’751 patent within the United States

       through its Accused Functionalities. Touchstream accuses Comcast of infringing claims 12,

       13, and 14 of the ’751 patent.




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           (3) Plaintiff Touchstream is the owner of the ’934 patent titled “Play Control of Content

    on a Display Device.” Comcast has been and is infringing the ’934 patent under 35 U.S.C.

    § 271 by using the methods of one or more claims of the ’934 patent within the United States

    through its Accused Functionalities. Touchstream accuses Comcast of infringing claims 17,

    18, 19, and 20 of the ’934 patent.

           (4) Touchstream provided pre-suit notice of the ’251 patent to Comcast, Comcast was

    aware of the ’251 patent prior to the filing of Touchstream’s Original Complaint either through

    actual notice or willful blindness, and Comcast was aware or should have been aware that it

    was likely to infringe one or more Asserted Claims of the ’251 patent.

           (5) Comcast’s pre-suit and post-suit infringement of the ’251 patent has been and

    continues to be willful.

           (6) Comcast’s post-suit infringement of the ’751 patent and ’934 patent has been and

    continues to be willful.

           (7) The Asserted Claims of the Asserted Patents are not invalid for any reason,

    including under 35 U.S.C. §§ 101, 102, 103, and/or 112.

           (8) Touchstream has been damaged by Comcast’s infringement of the Asserted Claims,

    and Touchstream is entitled to damages for all infringement addressed at trial.

           (9) Touchstream is entitled to supplemental damages for all infringement that is not

    addressed at trial, including, for example, damages for infringement that occurred (i) after the

    temporal cutoff for the data presented at trial; (ii) during the period between the jury verdict

    and the entry of final judgment, as well as pre-judgment and post-judgment interest; and (iii)

    in the future until expiration of each of the respective Asserted Patents.

           (10)        Touchstream seeks the following relief:




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                     i. A judgment that Comcast has infringed the ’251 patent;

                    ii. A judgment that Comcast has infringed the ’751 patent;

                   iii. A judgment that Comcast has infringed the ’934 patent;

                   iv. A judgment that Comcast’s infringement has been willful;

                   v. A judgment and order requiring Comcast to pay Touchstream damages

                       under 35 U.S.C. § 284, together with pre-judgment and post-judgment

                       interest and a running royalty for future damages;

                   vi. A judgment and order requiring Comcast to pay Touchstream the costs of

                       this action;

                  vii. A judgment and order declaring this case to be exceptional based on

                       Comcast’s infringement and/or litigation conduct;

                  viii. A judgment and order awarding attorneys’ fees, costs, expenses, and any

                       other relief the Court deems appropriate to Touchstream under 35 U.S.C. §

                       285;

                   ix. A permanent injunction restraining and enjoining Comcast from any further

                       use of the methods of the Asserted Claims; and

                   x. All equitable relief that the Court deems just and proper.

           (11)         Touchstream contends that the Asserted Patents are valid, patent-eligible,

    and enforceable, and that its claims are not barred or otherwise limited as a result of any of the

    affirmative defenses raised by Comcast.

           (12)         To the extent not already addressed above, Touchstream disagrees with

    Comcast’s contentions below.

      B.    Comcast’s Contentions




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          (1)      To the extent not addressed below, Comcast denies each of Touchstream’s

      contentions.

          (2)      Comcast does not infringe, and has not infringed, any of the Asserted Claims.

          (3)      Comcast’s alleged infringement of the Asserted Claims has not been, and is not,

      willful.

          (4)      The Asserted Claims are not patent-eligible under 35 U.S.C. § 101.

          (5)      The claim elements of the Asserted Claims, both individually and as an ordered

      combination, were well-understood, routine, and conventional at the time of the alleged

      invention.

          (6)      Comcast contends that U.S. Patent No. 9,294,800 (“McMahon”) is prior art to

      the Asserted Claims under at least 35 U.S.C. §§ 102 (e) and/or (g) (pre-AIA).

          (7)      Comcast contends that the 2010 Xfinity TV App System is prior art to the

      Asserted Claims under at least 35 U.S.C. §§ 102 (a) and/or (g)(2) (pre-AIA).

          (8)      Comcast contends that U.S. Patent Publication No. 2004/0078812 (“Calvert”) is

      prior art to the Asserted Claims under at least 35 U.S.C. §§ 102 (a), (b), (e), and/or (g) (pre-

      AIA).

          (9)      Comcast contends that U.S. Patent No. 8,660,545 (“Redford”) is prior art to the

      Asserted Claims under at least 35 U.S.C. §§ 102 (a), (b), (e), and/or (g) (pre-AIA).

          (10)     Comcast contends that the Asserted Claims are invalid as anticipated and/or

      obvious under 35 U.S.C. §§ 102 and 103 in view of the following prior art:

                      •   McMahon;

                      •   McMahon in view of Calvert;

                      •   The 2010 Xfinity TV App System;




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                     •   The 2010 Xfinity TV App System in view of McMahon;

                     •   The 2010 Xfinity TV App System in view of Calvert; and/or

                     •   Redford.

          (11)    Comcast contends that the Asserted Claims are invalid for lack of written

      description under 35 U.S.C. § 112.

          (12)    Comcast contends that Touchstream is not entitled to enhanced damages under

      35 U.S.C. § 284.

          (13)    Comcast contends that Touchstream is not entitled to any attorneys’ fees or other

      costs under 35 U.S.C. § 285.

          (14)    Comcast contends that Touchstream is not entitled to pre- and post-judgment

      interest.

          (15)    Comcast contends that it is entitled to costs, expenses, and attorneys’ fees under

      35 U.S.C. § 285, as well as any other relief the Court finds appropriate.

          (16)    Touchstream is not entitled to any damages or other relief under any theory

      because Comcast has not infringed any valid claim of the Asserted Patents.

          (17)    Touchstream is not entitled to supplemental damages or other relief under any

      theory.

          (18)    Comcast contends that, even if infringement of a valid Asserted Claim is found,

      Touchstream’s proposed royalty is excessive and unsupported.

          (19)    Comcast contends that no order should restrain or enjoin Comcast from

      continuing its use of the Accused Functionalities.

          (20)    Comcast contends that Touchstream’s claims are without merit.




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 V.      STIPULATIONS AND UNCONTESTED FACTS

          The Parties will continue to meet and confer to attempt to resolve their objections to

  deposition designations and exhibits, and to identify additional potential stipulations, including

  stipulations related to the admissibility of exhibits, and will supplement these stipulations to the

  extent that additional stipulations are agreed by the Parties.

         A.    The Parties’ Statement of Stipulations

          The Parties have met and conferred and agreed upon certain trial management

  procedures as set forth below.

         (1)      The parties propose that the Court present a tutorial video for the Federal Judicial

 Center regarding the U.S. Patent Office to the members of the jury as part of its preliminary

 instructions to the jury.

         (2)      The parties agree that written answers to interrogatories and requests for

 admission or stipulations agreed to in this case shall be treated by the opposing party as having

 been given under oath, whether or not the answers were signed or verified by the party making

 them.

         (3)      The parties will share any courtroom audio-visual equipment.

         (4)      The parties shall make good faith efforts to resolve objections over the use of

 identified witnesses, testimony, exhibits, and demonstratives by participating in a meet and confer

 following the identification of and objection to witnesses, testimony, exhibits, and demonstratives

 each day as outlined further below.

         (5)      Fact witnesses will be sequestered so that they cannot hear other witnesses’

 testimony pursuant to Federal Rule of Evidence 615. This stipulation does not apply to a party’s

 corporate trial representative.




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       B.      The Parties’ Statement of Uncontested Facts

         (1)       Comcast Cable Communications, LLC is a Delaware limited liability company.

         (2)       Comcast Cable Communications Management, LLC is a Delaware limited

  liability company.

         (3)       Comcast of Houston, LLC is a Delaware limited liability company.

         (4)       Comcast Corporation is a Pennsylvania company.

         (5)       The Asserted Patents are U.S. Patent Nos. 8,356,251 (“’251 patent”), which

  issued January 15, 2013; 11,048,751 (“’751 patent”), which issued June 29, 2021; and

  11,086,934 (“’934 patent”), which issued August 10, 2021 (collectively, the “Asserted

  Patents”).

         (6)       Touchstream is the record assignee and owner of the Asserted Patents.

         (7)       Each of the Asserted Patents is titled “Play Control of Content On a Display

                   Device.”

         (8)       Each of the Asserted Patents names David Strober as inventor.

         (9)       On February 17, 2023, Touchstream filed the Original Complaint asserting

  infringement of the ’251 Patent. 2:23-cv-00062-JRG, Dkt. 1.

         (10)      On May 25, 2023, Touchstream filed its First Amended Complaint asserting

  infringement of the Asserted Patents. 2:23-cv-00060-JRG, Dkt. 55.

         (11)      On March 28, 2024, Touchstream filed its Second Amended Complaint asserting

  infringement of the Asserted Patents. Dkt. 30.

         (12)      On April 30, 2024, this Court dismissed all allegations of pre-suit willful

  infringement as to the ’751 and ’934 patents. 2:23-cv-00059-JRG, Dkt. 44.

         (13)      McMahon was filed as U.S. Application No. 13/103,574 and claims priority to




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  and incorporates by reference in its entirety U.S. Provisional Application No. 61/333,066, which

  was filed on May 10, 2010.

         (14)    Calvert was filed as U.S. Application No. 2004/0078812 on January 4, 2002.

         (15)    Redford was filed as U.S. Application No. 12/683,405 on January 6, 2010.

 VI.    CONTESTED ISSUES OF FACT AND LAW

         The Parties identify the following issues that remain to be litigated. The Parties reserve

  the right to identify additional factual or legal issues that may arise, including issues raised by

  any further discovery undertaken in this case or the Court’s rulings on any pending motions or

  rulings made at the pretrial conference on this action.

         By providing this statement, the Parties do not concede that all of these issues are

  appropriate for trial. The Parties also do not waive any issues raised in their pending, decided,

  or future motions.

                (1)     Whether Touchstream has shown by a preponderance of evidence that

        Comcast has directly infringed or is directly infringing the Asserted Claims.

                (2)     Whether Comcast has proven by clear and convincing evidence that the

        Asserted Claims are invalid under 35 U.S.C. §§ 101, 102, 103, and/or 112.

                (3)     Whether the claim elements of the Asserted Patents, both individually and

        as an ordered combination, were well-understood, routine, and conventional at the time of

        the alleged invention.

                (4)     Whether certain of Comcast’s references qualify as prior art in light of

        Touchstream’s assertion of an October 2010 priority date for each Asserted Patent.

                (5)     Whether the Asserted Patents are entitled to the asserted priority date of

        October 2010.




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               (6)      Whether the hypothetical negotiation between Touchstream and Comcast

       would have begun in mid-2012 and culminated in an agreement in early 2013.

               (7)      Whether Comcast has proven the availability of any available and

       acceptable non-infringing alternative by a preponderance of the evidence.

               (8)      If Touchstream proves infringement of one or more valid claims of the ’251

       Patent, the amount of reasonable royalty damages that Touchstream has shown by a

       preponderance of the evidence to which it is entitled for the period from February 17, 2017

       to the date of trial.

               (9)      If Touchstream proves infringement of one or more valid claims of the ’751

       Patent, the amount of reasonable royalty damages that Touchstream has shown by a

       preponderance of the evidence to which it is entitled for the period from June 29, 2021 to

       the date of trial.

               (10)     If Touchstream proves infringement of one or more valid claims of the ’934

       Patent, the amount of reasonable royalty damages that Touchstream has shown by a

       preponderance of the evidence to which it is entitled for the period from August 10, 2021

       to the date of trial.

               (11)     If the jury awards damages to Touchstream, whether Touchstream has

       shown by a preponderance of the evidence that it is entitled to supplemental damages for

       infringement that is not included in the jury verdict, including, for example, damages for

       infringement that occurred between the jury verdict and the expiration of the Asserted

       Patents.

               (12)     If Touchstream proves infringement of one or more patent claims that are

       not invalid, whether Touchstream is entitled to a permanent injunction to prevent further




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           infringement.

                   (13)    If the jury awards damages to Touchstream, whether Touchstream has

           shown by a preponderance of the evidence that it is entitled to pre- and/or post-judgment

           interest and, if so, the amount.

                   (14)    Whether Touchstream has shown by a preponderance of the evidence that

           Comcast has willfully infringed any valid claim of the ’251 Patent.

                   (15)    Whether Touchstream has shown by a preponderance of the evidence that

           Comcast has willfully infringed any valid claim of the ’751 Patent or ’934 Patent after the

           filing of this lawsuit.

                   (16)    If the jury finds willful infringement, whether Touchstream should be

           awarded enhanced damages under 35 U.S.C. § 284 and, if so, the amount of enhancement.

                   (17)    Whether this case is exceptional under 35 U.S.C. § 285 and, if so, whether

           Touchstream or Comcast is entitled to attorneys’ fees or costs, and, if so, the amount.

 VII.      LIST OF WITNESSES

           The Parties’ witness lists and objections thereto are attached as Exhibits A and B. The

     Parties will continue to meet and confer regarding these lists, objections, and amendments thereto.

 VIII. LIST OF EXHIBITS

             The Parties’ exhibits lists and objections thereto are attached as Exhibits C and D.2 The

     Parties’ joint exhibit list is attached as Exhibit E. The Parties reserve the right to object to the

     admission of any of the exhibits currently listed on the joint exhibit list based on rulings on the

     pending motions for summary judgment, Daubert motions, and motions in limine. The Parties



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   After the Parties exchanged initial exhibit lists, certain exhibits were agreed-upon as joint
 exhibits. Those exhibits were removed from the individual exhibit lists, and those lists are
 therefore not numbered continuously.


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     will continue to meet and confer regarding these lists, objections, and amendments thereto. In

     addition, any exhibits implicated by motions in limine are deemed objected to.

 IX.       DEPOSITION DESIGNATIONS

           The Parties’ deposition designations and objections are attached as Exhibits F3 and G. The

 Parties will continue to meet and confer regarding these designations, objections, and amendments

 thereto. In addition, any deposition designations implicated by motions in limine are deemed

 objected to.

 X.        STIPULATIONS AND TRIAL DISCLOSURES

           The following stipulations were agreed upon by the Parties as discussed below and are

 made a part of this Pretrial Order.

          A. Trial Disclosure Schedule

          The Parties agree to the following procedure which will govern the disclosure of witnesses,

 exhibits, deposition testimony, and demonstratives to use at trial and the process to identify any

 objections remaining between the Parties with regard to these disclosures:

                      (1)    At 7:30 PM4 two days before each day of trial (e.g., 7:30 PM Saturday

                             for a Monday trial day), each party will exchange by email the following

                             for that trial day:

                             (i)     A list of witnesses the party intends to call for direct examination,

                                     in the order the party intends to call such witnesses (whether live



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   The Second Amended Docket Control Order (Dkt. 114) set September 11, 2024 as the deadline
 to “Serve Objections to Counter-Designations,” but did not contemplate counter-counter
 designations. Accordingly, Comcast objects to Touchstream’s counter-counter designations as
 improper. Additionally, Comcast reserves the right to serve specific objections to the
 admissibility of the counter-counter designations should Touchstream seek to offer them at trial.
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   All times noted herein are Central Time.


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                              or by deposition);

                     (ii)    A list of the deposition testimony it intends to introduce (either

                              by video or through a reading of the transcript), a list and PDF

                              copy of any trial exhibits it intends to introduce for the first time

                              through such deposition testimony, and a short statement of

                              introduction for the witness that may be read to the jury prior to

                              reading or playing the designated deposition testimony to the

                              jury; and

                     (iii)   A list of the responses to requests for admissions or

                              interrogatories it intends to read into the record.

               (2)    At 7:30 PM one day before a day of trial (e.g., 7:30 PM Sunday for a

                      Monday trial day), each party will exchange by email the following for

                      that trial day:

                      (i)    A list and PDF copy of each trial exhibit for each witness it

                              intends to present for the first time through direct examination;

                     (ii)    Copies of demonstratives to be used during direct examination

                              (including native versions of any demonstratives with video or

                              animation);

                     (iii)   Objections to witnesses for both live and deposition trial

                              witnesses;

                     (iv)    Identification of objections to designated deposition testimony

                              and deposition counter-designations to be included when the

                              other party introduces its identified deposition testimony; and




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                          (v)     Identification of objections to the list of requests for admission

                                  or interrogatories to be introduced at trial.

                   (3)    At 8:30 PM one day before a day of trial (e.g., 8:30 PM Sunday for a

                          Monday trial day), each party will exchange by email the following for

                          that trial day:

                          (i)     Objections to trial exhibits and disclosed demonstratives to be

                                  used during direct examination; and

                          (ii)    Objections to counter-designations.

                   (4)    At 9:00 PM one day before a day of trial (e.g., 9:00 PM Sunday for a

                          Monday trial day), the parties shall meet and confer regarding objections

                          to witnesses, trial exhibits, deposition testimony, and demonstratives.

                   (5)    At 10:00 PM the day before a day of trial (e.g., 10:00 PM Sunday for a

                          Monday trial day), to the extent there are unresolved issues, the parties

                          shall submit to the Court by email arguments regarding any remaining

                          evidentiary disputes.

                   (6)    By the morning of the day of trial (e.g., Monday morning for a Monday

                          trial day), the Court will rule on evidentiary disputes submitted the

                          previous evening.

       In addition, the parties agree to the following procedures for the exchange of demonstratives

 to be used during opening arguments and physical exhibits:

                   (1)    The parties will exchange demonstratives to be used during opening

                          arguments by 5:00 PM the day before the trial day on which they will

                          be used.



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                    (2)     By 7:30 PM, each party will identify any objections to the exhibits and

                            demonstratives of the opposing party.

                    (3)     The parties shall meet and confer on any objections by 9:00 PM that

                            day.

                    (4)     In the event the parties do not resolve any dispute, by 10:00 PM the

                            parties shall submit to the Court by email arguments regarding any

                            remaining disputes regarding opening demonstratives.

                    (5)     Physical exhibits will be available for inspection at 7:30 PM two days

                            before a party intends to use the physical exhibit at trial. The parties

                            reserve the right to lodge objections related to the quality and accuracy

                            of the exhibits upon inspection of the physical exhibits.

                    (6)     Closing demonstratives will not be exchanged.

       By 7:30 PM the day before the party that is presenting its case-in-chief expects to rest, its

 counsel shall provide to counsel for the other party an estimate of when it expects to rest. To the

 extent either party expects to rest before 4:00 PM on a trial day, it will provide notice one day

 earlier. For instance, if Plaintiff expects to rest in the morning on a Wednesday, it will provide

 notice to Defendant on Monday so that the Defendant may prepare its related disclosures.

       B.    Motions

        All motions for judgment as a matter of law pursuant to Fed. R. Civ. P. 50(a) may be

 brought to the Court orally or in writing. Unless the Court sets alternative deadlines, all oppositions

 to motions filed pursuant to Fed. R. Civ. P. 50(b) must be filed within 28 days of the filing of the

 motion. All replies in support of the motions must be filed within 21 days of service of any

 oppositions. All sur-replies in support of oppositions must be filed within 21 days of service


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 of the reply. The Parties reserve their right to seek reasonable extensions of these deadlines,

 subject to the Court’s approval.

       C.     Exhibits

        (1)      The Parties agree that any exhibit listed on any party’s exhibit list as to which no

                 objection remains pending at the time of opening statements may be shown to the

                 jury during opening statements. The Parties agree that exhibits to be used or offered

                 into evidence solely for impeachment need not be included on the Parties’ trial

                 exhibit lists.

        (2)      Each party has the right to use an exhibit on either party’s exhibit list, even if not

                 introduced by the designating party, subject to all evidentiary objections. Another

                 party’s exhibit is not, however, admissible simply by virtue of being on an exhibit

                 list. A party seeking to introduce another party’s exhibit must still have a witness

                 sponsor the exhibit into evidence and is subject to any objections, including for

                 example, hearsay objections that may apply to one party but not the other. The

                 parties’ exhibit lists and the joint exhibit list include exhibits that may not

                 necessarily be introduced into evidence. A party’s decision not to introduce any

                 exhibit appearing on its list or the joint list shall not be commented on during trial

                 except that a comment may be made if the exhibit was used in opening and then not

                 explained to the jury by a witness at trial.

        (3)      A legible copy of an exhibit may be offered in evidence in lieu of the original

                 subject to all foundational requirements and other objections that might be made to

                 the admissibility of the original and subject to the right of the party against whom

                 it is offered to inspect the original upon request reasonably in advance of any




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             proposed use of the copy. For exhibits that are spreadsheets, slide presentations, or

             videos, the Parties may use electronic versions of such exhibits in their native

             format.

       (4)   The parties agree that the following are presumed prima facie authentic, subject to

             evidentiary objections: (i) exhibits created and thereafter produced by a party or

             subpoenaed third party; (ii) documents created by a government agency; and

             (iii) scientific-research articles and posters.

       (5)   The parties agree that any date or description of a document (or absence thereof) on

             an exhibit list is provided for convenience only and shall not be used as evidence

             regarding that document.

       (6)   Legible photocopies of United States and foreign patent and trademark

             applications, published documents, issued documents, and file histories, including

             the Asserted Patents and their file histories, may be used in evidence in lieu of

             certified copies thereof, subject to all other objections which might be made to the

             admissibility of certified copies. The dates of filing and issuance and the identity

             of the inventors of record shall be deemed to be shown on the face of the patent,

             subject to the right of the party against whom it is offered to adduce evidence to the

             contrary.

       (7)   No exhibit will be admitted unless a party offers the exhibit into evidence through

             a witness, who must at least be shown the exhibit, and the party formally moves the

             exhibit into evidence by exhibit number. For avoidance of doubt, this Section

             excludes exhibits that have been pre-admitted, stipulations and a party’s

             introduction of an opposing party’s admissions, such as interrogatory responses and




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                responses to requests for admission, which can be offered as evidence by a party

                during its case-in-chief while no witness is on the stand, subject to other evidentiary

                objections. A party seeking to introduce an interrogatory response or response to

                requests for admission must read the relevant response in its entirety, and may not

                admit the underlying document into evidence or publish it to the jury. Further, if a

                witness testifies via deposition, exhibits on a party’s exhibit list and discussed with

                that witness in the portion of the deposition presented to the jury may be moved

                into evidence immediately after the deposition testimony is concluded, subject to

                any unresolved objections as to the admissibility of that exhibit.

       (8)     Exhibits may not be published, displayed, or otherwise shown to the jury until after

                they have been admitted into evidence, except documents used for demonstrative

                purposes only during opening statements as previously discussed, or documents

                used during examination of an expert witness where the documents were relied

                upon by the expert in forming the expert’s opinions and disclosed in that expert’s

                report, and for which there is no objection or any objection has been overruled.

                Once admitted, counsel may publish exhibits to the jury without requesting to do

                so.

       (9)     The Parties agreed to exchange lists of “Admitted Exhibits” (those admitted into

                evidence) by 9:00 PM the same day they were entered.

      D.     Deposition Testimony

       (1)      Promptly after the meet and confer one (1) day before the deposition testimony is

                to be played, the party that seeks to read or play the deposition testimony must

                provide the opposing party a workable copy of the actual recordings to be played




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             (or testimony to be read), including all designations and counter designations

             included sequentially (i.e., in the order that they appeared at the deposition). The

             Parties shall cooperate in good faith to prepare the designated portions of the

             depositions for presentation at trial. The time available for each side’s trial

             presentation shall be reduced by the length of its designations or counter-

             designations actually played or read at trial. If played, such time shall be measured

             by the amount of time of each party’s designations.

       (2)   Unless used for impeachment, all designated deposition testimony shall be played

             by video unless video is unavailable, or unless both Parties otherwise reach an

             agreement to read the deposition testimony live or the Court orders otherwise. The

             Parties’ designations and counter-designations shall be played (or read) together.

       (3)   Regardless of whether deposition testimony is read or played by video, the time

             available for each party’s trial presentation shall be reduced by the length of its

             designated and counter-designated testimony read or played.

       (4)   Prior to the introduction of deposition designations or counter-designations,

             counsel for the introducing party may provide a short, agreed-upon introduction to

             the jury about the identity of the witness, which introduction the Parties agree is not

             evidence and the time for which will be charged against that party.

       (5)   All irrelevant and redundant colloquy between counsel and objections will be

             eliminated as much as practicable when the deposition testimony is presented at

             trial. For each deposition, the specific portions of the deposition designated or

             counter-designated by either party shall be read or played together in the same order

             as the real time deposition testimony with all such objections and colloquy




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               removed.

       (6)     Any deposition testimony not specifically identified on a party’s deposition

               designation list may still be used at trial for the purpose of impeachment, if

               otherwise competent for that purpose. When a party uses deposition testimony for

               impeachment, the party may elect to either play the deposition testimony by video

               or read the deposition testimony live unless the Court orders otherwise.

       (7)     To the extent certain designated deposition testimony is admissible, a party’s

               decision not to introduce some or all of the deposition testimony of a witness

               designated by that party herein shall not be commented upon by the other party at

               trial.

       (8)     If a party withdraws testimony previously designated, the other party has the right

               to designate the withdrawn testimony subject to the initially designating party’s

               objections.

      E.     Demonstratives

       (1)     “Demonstratives” are materials specifically created for the purpose of the trial.

               Demonstratives may include documents relied upon by experts but not admitted

               into evidence. For the avoidance of doubt, the Parties agree that enlargements,

               highlighting, ballooning, or other annotations of admitted trial exhibits done in

               Court (rather than prepared as slides in advance) are not Demonstratives. Each

               Demonstrative shall clearly indicate information sources (including, if available,

               trial exhibit numbers) that form the basis of the Demonstrative. Reasonable non-

               substantive edits or corrections of typographical and similar errors to

               Demonstratives may be made to such exhibits prior to use.




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       (2)   For clarity, Demonstratives include physical or other non-documentary

             demonstratives (such as poster boards, product samples, prior art sample, live

             product, or prior art demonstrations). Thus, photos or electronic images of the

             physical demonstrative must be disclosed in accordance with the schedule and

             procedure set forth in § VIII.A. above, and also made available for physical

             inspection if requested by the opposing party.

       (3)   Demonstratives that include videos, animations, or the like will be exchanged in a

             format that allows for the playback of any animations in accordance with the

             schedule and procedure set forth in § VIII.A. above.

       (4)   Demonstratives for direct examination and opening and trial exhibits must be

             cleared of outstanding objections before being shown to the jury. Additionally, any

             transcripts of testimony (excluding testimony given during this trial) must be

             cleared of outstanding objections before being shown to the jury during opening,

             closing, or on direct examination. On cross-examination, transcripts of testimony

             may be used for impeachment so long as it is not in violation of a motion in limine

             or other exclusionary order, regardless of whether it was previously designated by

             the Parties.

       (5)   The Parties agree that Demonstratives the Parties intend to use at trial do not need

             to be included on their respective lists of trial exhibits. The Parties further agree

             that, unless otherwise ordered by the Court, Demonstratives will not be admitted as

             evidence and will not be made available to the jury during deliberations.

       (6)   The Parties agree to discuss in good faith a reasonable time for exchange of

             previously undisclosed closing Demonstratives. For closing arguments, the Parties




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                 agree that a party need not provide advance notice regarding its intent to use

                 Demonstratives previously used during the course of trial or enlargements,

                 highlighting, ballooning, or other annotations of admitted trial exhibits or testimony

                 given during this trial.

        (7)      To the extent certain exhibits or Demonstratives are admissible, a party’s decision

                 not to introduce the exhibits or Demonstratives shall not be commented upon by

                 the other party at trial.

       F.     Stipulations Regarding Subject Matter Not to Be Presented to the Jury

        Absent any later agreement among the parties to the contrary, the parties agree not to

 discuss or argue the following in front of the jury, without first approaching the Bench and

 explaining why despite such an agreement the other side has now opened the door:

                       (1)       The Parties agree not to offer any evidence or testimony (lay and

               expert) of or make any reference, suggestion, or argument regarding the fact that any

               claim, defense, affirmative defense, prior art, theory, or product was previously at

               issue in this lawsuit, has been withdrawn over the course of the litigation, or is no

               longer at issue in this lawsuit. Notwithstanding the foregoing, the Parties may offer

               evidence, testimony, or argument regarding which products, services, and

               functionalities are and are not accused.

                       (2)       There will not be any testimony, evidence, or expert opinions from

               experts not disclosed in expert reports. No expert witness may testify to expert

               opinions outside the established parameters of her/his expert report, and counsel shall

               not raise such an objection for strategic or other non-meritorious purposes.

                       (3)       No expert may offer legal opinions or legal testimony.




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                      (4)       The Parties shall not offer any evidence or testimony (lay and

              expert) of or make any reference, suggestion, or argument that damages could

              potentially be enhanced.

                      (5)       The Parties agree not to offer any evidence or testimony (lay and

              expert) of or make any reference, suggestion, or argument regarding any current or

              prior relationship between any expert witnesses and either party, Boies Schiller

              Flexner LLP, Davis Polk & Wardwell LLP, and/or any other current or former

              counsel of record (including Shook, Hardy & Bacon LLP) or their current or former

              attorneys.

                      (6)       The Parties will not make any reference to jury consultants,

              investigators, mock trials, focus groups, and the like consulted in preparation for

              litigation.

                      (7)       The Parties shall not offer any evidence or testimony (lay and

              expert) concerning matters relevant solely to claims or defenses dismissed on

              summary judgment or otherwise no longer presented in this case.

                      (8)       Touchstream will not offer testimony, evidence, or argument

              regarding the substance of conversations with, or impressions of, Touchstream’s

              patent prosecution counsel, including concerning the purported strength of

              Touchstream’s patents or patent applications.

       G. Handling of Source Code and Confidential Material

        The parties may present Source Code at trial and enter it into evidence, subject to the

 protection of the Court’s Protective Order (2:23-cv-00060-JRG, Dkt. 77). Only portions of source

 code about which a witness testifies shall be included as a trial exhibit for the jury, and such source




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 code shall be provided in paper format.

        Once the trial is complete, the Parties must delete and/or destroy any copies of the other

 Party’s source code material in that Party’s possession, whether they be hard copies or digital

 copies, no later than forty-five (45) days of final termination of this Action, including any appeals,

 pursuant to the Protective Order (Dkt. 77, 2:23-cv-00060-JRG).

        The parties must request to seal any exhibits on the record at the time they are offered. If

 a party asks to go on the confidential record, then the party shall also note when the proceedings

 may resume on the public record.

        The Parties agree that a party may demand that its source code may only be displayed in a

 sealed courtroom. For the avoidance of any doubt, any presentation of the Parties’ source code—

 in electronic or paper form—in open court requires sealing of the courtroom upon request of the

 party that owns the source code.

 XI.    PROPOSED JURY INSTRUCTIONS AND VERDICT FORM

        The Parties attach hereto as Exhibit H the Proposed Jury Instructions and attach hereto as

 Exhibit I the Proposed Verdict Form. The Parties will submit Amended Proposed Jury Instructions

 that include argument and authority in support of their proposals. The Parties will continue to meet

 and confer and expect to further narrow disputes with respect to the final jury instructions.

 XII.   LIST OF MOTIONS DECIDED AT PRETRIAL CONFERENCE

        The below Motions are pending before the Court:

         Date Filed                  Dkt.              Description

                                                     Comcast’s Motion to Strike the Opinions of Dr.
          8/5/2024                    83
                                                     Russell Mangum

                                                     Comcast’s Motion to Strike Certain Opinions of
          8/5/2024                    84
                                                     Dr. Kevin Almeroth



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                                                     Comcast’s Motion for Partial Summary
             8/5/2024                  85
                                                     Judgment
                                                     Defendant’s Motion for Summary Judgment of
             8/5/2024                  86
                                                     Invalidity under 35 U.S.C. § 101
                                                     Touchstream’s Motion for Summary Judgment
             8/5/2024                  88
                                                     of Validity under 35 U.S.C. § 101
                                                     Touchstream’s Motion to Strike the Opinions of
             8/5/2024                  90
                                                     Dr. Stephen Becker
                                                     Touchstream’s Motion to Strike the Opinions of
             8/5/2024                  91
                                                     Dr. Kevin Jeffay

             9/3/2024                 170            Touchstream’s Motions in Limine

             9/3/2024                 172            Comcast’s Motions in Limine

 XIII. MEMORANDA ON DISPUTED ISSUES OF LAW

         Each party reserves the right to submit a trial brief, as appropriate, on any disputed issues

 of law and/or fact regarding infringement, invalidity, willfulness, damages, and the exceptional

 nature of this case.

 XIV. ORDER OF PRESENTATION

 The order of presentations at trial shall be as described in this subsection.

         1.       Opening Statements: The trial presentations shall begin with opening statements

 by each party. Plaintiff shall present its opening statement first, followed by Defendant’s opening

 statement.

         2.       Evidence: After opening statements, the parties shall present their evidence.

 Plaintiff shall go first on the issues of infringement, willfulness, and damages. Defendant shall

 next present its case on non-infringement, invalidity, and damages. Plaintiff may then present its

 rebuttal case on invalidity.

        3.        Closing Arguments: The parties shall conclude with closing arguments. Plaintiff




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 shall present its closing argument on all issues. Next, Defendant will present its closing argument

 on all issues. Plaintiff may reserve time and make a rebuttal closing after Defendant’s argument.

 XV.    PROBABLE LENGTH OF TRIAL

        The Court orders that the length of the trial will be between 4/5 and 5/6 days. The Parties

 will be given twelve (12) / eighteen (18) hours per side for trial time excluding opening, closing,

 and voir dire. The parties believe the Court should allocate 30 minutes for voir dire per side, 30

 minutes for opening statements per side, and 40 minutes for closing statements per side.

 Touchstream may present a rebuttal case on invalidity after Comcast’s case-in-chief, which can

 use Touchstream’s trial time that was remaining at the time Comcast rested its case-in-chief. A

 party may not reserve trial time for closing argument—40 minutes is the limit for each side’s

 closing argument. Touchstream may reserve up to ten (10) minutes of its time for closing argument

 for a rebuttal argument.

 XVI. DOCKET ENTRIES RELATED TO MEMBER CASE

        Pursuant to the Third Amended Docket Control Order (Dkt. 205), and the Court’s Standing

 Order Regarding Pretrial Procedures in Consolidated Cases, the Parties attach hereto as Exhibit J a

 list identifying all docket entries from the Lead Case that relate to Member Case No. 2:23-cv-0062.

 Because the cases were previously consolidated under Lead Case No. 2:23-cv-0060, Exhibit J

 includes related filings from Case No. 2:23-cv-0060.

        This Joint Pretrial Order is hereby approved this      day of           , 2024.




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               TABLE OF EXHIBITS TO JOINT PRE-TRIAL ORDER




           PTO EX. NO.       DESCRIPTION
           A                 Touchstream’s Witness List
                             (with Comcast objections)

           B                 Comcast’s Witness List
                             (with Touchstream objections)

           C                 Touchstream’s Exhibit List
                             (with Comcast objections)

           D                 Comcast’s Exhibit List
                             (with Touchstream objections)

           E                 Joint Exhibit List
           F                 Touchstream’s Deposition Designations
                             (with Comcast objections)

           G                 Comcast’s Deposition Designations
                             (with Touchstream objections)

           H                 Proposed Jury Instructions
           I                 Proposed Verdict Form
           J                 List of Docket Entries Related to Member Case
                             2:23-cv-0062




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  Date: October 4, 2024

  Respectfully submitted,

                                             /s/ David J. Lisson
  /s/ Ryan D. Dykal                          David J. Lisson
  Ryan D. Dykal
                                             Deron Dacus (State Bar No. 00790553)
  Ryan D. Dykal (pro hac vice)               THE DACUS FIRM, P.C.
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  Philip A. Eckert (pro hac vice)            Tel:     (903) 705-1117
  Anita Liu (TX State Bar No. 24134054)      ddacus@dacusfirm.com
  BOIES SCHILLER FLEXNER LLP
  1401 New York Ave, NW                      DAVIS POLK & WARDWELL LLP
  Washington, DC, DC 20005                   Ashok Ramani (CA Bar No. 200020) David
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  mschafer@bsfllp.com                        Menlo Park, CA 94025
  peckert@bsfllp.com                         ashok.ramani@davispolk.com
  aliu@bsfllp.com                            david.lisson@davispolk.com
                                             james.park@davispolk.com
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  Sabina Mariella (pro hac vice)             Alena Farber (NY Bar No. 5896170) 450
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  (t) 903-934-8450                           lauren.matlock-colangelo@wilmerhale.com
  melissa@gillamsmithlaw.com
                                             Counsel for Defendants Comcast Cable
                                             Communications, LLC, Comcast Cable
  Counsel     for   Plaintiff                Communications Management, LLC, Comcast
  Touchstream Technologies,                  of Houston, LLC, and Comcast Corporation
  Inc.




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                                       CERTIFICATE OF SERVICE

        I hereby certify that, October 4, 2024, the foregoing was filed under seal with the Clerk of Court using

the CM/ECF system, and all counsel of record who are deemed to have consented to electronic service are

being served with a notice of this document via the Court’s CM/ECF system. Further, I hereby certify that a

courtesy copy of the foregoing was emailed to counsel for Defendants on October 4, 2024.


                                                                      /s/ Ryan D. Dykal
                                                                        Ryan D. Dykal




                                    CERTIFICATE OF CONFERENCE


        The undersigned hereby certifies that counsel has complied with the meet and confer requirement in

Local Rule CV-7(h) on October 3, 2024 and that this is a joint motion with various positions that the parties

have reached an impasse on. Participants in the conference included at least Jordan Bergsten, John Lyons, Philip

Eckert, Anita Liu, Dina Hayes, Micayla Hardisty, Alena Farber, and James Park. Counsel for the parties

discussed their positions at the meet and confer regarding the joint motions but reached an impasse on several

outstanding issues, leaving an open issue for the Court to resolve.

                                                                  /s/ Ryan D. Dykal




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